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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: : Chapter 11

NEW CENTURY TRS HOLDINGS, : Case No. 07-10416 (KJC)
INC., a Delaware corporation, et al.,'

Jointly Administered
Debtors.

Proposed Hearing Date: 3/5/08 at 1:30 p.m.
Proposed Objection Deadline: 2/27/08 at 4:00 p.m.

NOTICE OF MOTION AND HEARING

PLEASE TAKE NOTICE that on February 19, 2008 the above-captioned debtors
and debtors in possession (the “Debtors”) filed the Debtors’ Motion Pursuant to Section 363 of
the Bankruptcy Code and Bankruptcy Rule 9019(a) Approving a Settlement Between
Debtors, Positive Software Solutions, Inc. and Edward Mandel and Granting Related
Relief (the “Motion”) with the United States Bankruptcy Court for the District of Delaware, 824
Market Street, 3rd Floor, Wilmington, Delaware 19801 (the “Bankruptcy Court”).

PLEASE TAKE FURTHER NOTICE that the Debtors contemporaneously filed a
Motion to Shorten Notice and Objection Periods for the Motion (the “Notice Motion”) with the
Bankruptcy Court. The hearing date and objection deadline set forth herein are consistent with

the dates proposed in the Notice Motion. In the event that the Court does not approve the dates

| The Debtors are the following entities; New Century Financial Corporation (f/k/a New Century REI,
Inc.), a Maryland corporation; New Century TRS Holdings, Inc. (f/k/a New Century Financial Corporation), a
Delaware corporation; New Century Mortgage Corporation (f/k/a JBE Mortgage) (d/b/a NCMC Mortgage
Corporate, New Century Corporation, New Century Mortgage Ventures, LLC), a California corporation; NC Capital
Corporation, a California corporation; Home123 Corporation (f/k/a The Anyloan Corporation, 180@anyloan.com,
Anyloan.com), a California corporation; New Century Credit Corporation (f/k/a Worth Funding Incorporated), a
California corporation; NC Asset Holding, L P. (f/k/a NC Residual II Corporation), a Delaware limited partnership,
NC Residual 11 Corporation, a Delaware corporation; NC Residual 1V Corporation, a Delaware corporation, New
Century R.E O. Corp., a California corporation; New Century R.E.O. II Corp., a California corporation; New
Century R E.O. II Corp., a California corporation; New Century Mortgage Ventures, LLC (d/b/a Summit Resort
Lending, Total Mortgage Resource, Select Mortgage Group, Monticello Mortgage Services, Ad Astra Mortgage,
Midwest Home Mortgage, TRATS Financial Services, Elite Financial Services, Buyers Advantage Mortgage), a
Delaware limited liability company; NC Deltex, LLC, a Delaware limited liability company, NCoral, L.P., a
Delaware limited partnership and New Century Warehouse Corporation, a California corporation.

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proposed in the Notice Motion, the Debtors will file and serve a separate notice notifying all
parties-in-interest of the revised hearing date and objection deadline.

PLEASE TAKE FURTHER NOTICE that any responses or objections to the
Motion must be in writing, filed with the Clerk of the Bankruptcy Court, 824 Market Street, 3rd
Floor, Wilmington, Delaware 19801, and served upon and received by the undersigned counsel
on or before 4:00 p.m. on February 27, 2008.

PLEASE TAKE FURTHER NOTICE that a hearing with respect to the Motion be
held on March 5, 2008 at 1:30 p.m. before the Honorable Kevin J. Carey at the United States

Bankruptcy Court, 824 Market Street, 5" Floor, Courtroom #5, Wilmington, Delaware 19801.

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IF NO OBJECTIONS TO THE MOTION ARE TIMELY FILED, SERVED
AND RECEIVED IN ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT
THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR

HEARING.

Dated: February 19, 2008 “xc Wy | f .
Wilmington, Delaware -

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